 Case 4:05-cr-40001-JPG          Document 106 Filed 03/03/10            Page 1 of 2      Page ID
                                           #221



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                              Case No. 05-cr-40001-JPG

 ANTWAN L. TOMPKIN,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on defense counsel’s Motion (Doc. 100) to withdraw.

Following Defendant Antwan Tompkin’s guilty plea in this matter, the Federal Public Defender

explored whether he qualified for a reduction of his criminal sentence pursuant to 18 U.S.C. §

3582(c)(2) and United States Sentencing Guidelines Manual (hereinafter “U.S.S.G.”) § 1B1.10.

Tompkin’s counsel eventually filed the instant motion, wherein she argues any reduction would

now be moot as Tompkin is currently on supervised release. Despite the allowance of a response

period by this Court (see Doc. 102), Tompkin did not respond to defense counsel’s motion.

Meanwhile, the Government filed a Response (Doc. 103) that agreed with the basic assertions and

relief requested by defense counsel.

       Tompkin pled guilty to one count of conspiracy to distribute 5 grams or more of a mixture

containing crack cocaine. At sentencing, the Court found by a preponderance of the evidence that

Tompkin’s relevant conduct yielded a base offense level of 32. Tompkin’s base offense level was

reduced by three points under U.S.S.G. § 3E1.1 for acceptance of responsibility. Considering

Tompkin’s criminal history category of II, this yielded a sentencing range of 120 to 121 months in

prison. Ultimately, the Court imposed a sentence of 120 months.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing range
 Case 4:05-cr-40001-JPG          Document 106 Filed 03/03/10              Page 2 of 2     Page ID
                                           #222



that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).”

In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure

that any reduction “is consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2) (2006). Thus, a defendant urging a sentence reduction

under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must have lowered

the applicable guideline sentencing range, and (2) the reduction must be consistent with applicable

policy statements issued by the Sentencing Commission. If the defendant cannot satisfy the first

criterion, the Court has no subject matter jurisdiction to consider any reduction request. United

States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v. Forman, 553 F.3d

585, 588 (7th Cir. 2008), cert. denied 129 S. Ct. 2817 (2009).

       Here, the Court need not address either criterion. Custody is a prerequisite to reduction

analysis. Since Tompkin has served his term of imprisonment and is currently serving his term of

supervised release, any request or finding of reduction would be moot.

       Accordingly, the Court GRANTS defense counsel’s Motion (Doc. 100) to withdraw.

IT IS SO ORDERED.
DATED: March 3, 2010
                                                                     s/ J. Phil Gilbert
                                                                     J. PHIL GILBERT
                                                                     DISTRICT JUDGE




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